                  IN THE UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

 IN RE:                         )
                                )
 WILLIAM BARRIER ROBERTS,       ) CASE NO. 18-83442-CRJ11
 SSN: XXX-XX-9314               ) CHAPTER 11
                                )
    Debtor.                     )
                                )
                                )
   NOTICE OF DEATH OF DEBTOR AND MOTION TO ALLOW THE CASE TO
                    PROCEED TO CONFIRMATION

       COMES NOW the undersigned and hereby notifies the Court that William Barrier Roberts

passed away on June 6, 2020. A copy of his obituary is attached hereto as Exhibit A. Counsel

requests, pursuant to Rule 1016 of the Federal Rules of Bankruptcy Procedures, that this Court

allow this matter to proceed to confirmation in order to maximize the benefits for all parties in this

case. Counsel believes that confirmation and consummation of the Plan are possible, and that the

matter can be concluded as if the death of the Debtor had not occurred.

       Respectfully submitted on June 16, 2020

                                                      /s/ Stuart M. Maples
                                                      STUART M. MAPLES
                                                      (ASB-1974-S69S)

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                                CERTIFICATE OF SERVICE
        I do hereby certify that on June 16, 2020, a copy of the foregoing document was served on
the following by the means indicated below:

Richard Blythe
Bankruptcy Administrator
richard_blythe@alnba.uscourts.gov

Jayna P. Lamar
Stewart A. Kelly
Christian A. Pereyda
MAYNARD, COOPER & GALE, P.C.
1901 Sixth Avenue North 2400
Regions/Harbert Plaza
Birmingham, Alabama 35203

Walter A. Dodgen
David R. Beasley
MAYNARD, COOPER & GALE, P.C.
655 Gallatin Street S.W.
Huntsville, Alabama 35801

All parties requesting notice via CM/ECF

Via U.S. Mail to all creditors on matrix

                                                           /s/ Stuart M. Maples
                                                           STUART M. MAPLES




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                                                                EXHIBIT A




 William Barrier "Bill"
 Roberts




       Send Flowers                                                  Share




 William 'Bill' Barrier Roberts, 61, of Huntsville, passed away Saturday,
 June 6, 2020. Bill (Roscoe to many) had an infections personality making
 lifelong friends wherever he went. Bill always had a smile and a few jokes
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                                                                   EXHIBIT A
 ready, making you laugh or blush, no matter who you were. Simply put,
 people were drawn to his Larger-Than-Life personality. Bill learned to
 play hockey when he was 5 and was a founding player for UAH's hockey
 team. There he was introduced as "Big Bad Bill from Billy Goat Hill" by the
 announcer. He was also an avid NASCAR and Bama Fan. Bill founded and
 operated several successful businesses over the years, but will forever be
 remembered as a loving father, brother, and friend to many, with a big
 smile and a large heart. Survivors include his daughters, Tricia and Lee
 Ann; and siblings, Owen, Marian, Ann, and Carl. A graveside service will
 be at 11:00 a.m. Friday, June 12th, at Maple Hill Cemetery. Memorials
 may be made to Friends of UAH Hockey, c/o Bryant Bank, 320 Pelham
 Ave., SW, Suite 100, Huntsville AL 35801-5051.




 To Plant Memorial Trees in memory, please visit our Sympathy Store.


 Published in The Huntsville Times from Jun. 9 to Jun. 10, 2020.




 MEMORIAL EVENTS



   JUN Graveside service

   12     11:00 AM
          Maple Hill Cemetery

                Send Flowers



                         Funeral services provided by
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